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IN THE UN]TED STATES DISTRICT COURT <°¢ //)
FOR THE WESTERN DISTRICT OF TENNESSEE//(/\/ ‘ 695 f/_
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"'""/3`#§;5"/*
BERNADETTE CUNNINGHAM and ) '“’.1-""
ROSALIND JOHNSON, Individuafly and )
as Administratrix of the Estate of )
NEKEYA MAGSBY, Deceased, )
)
Plaintiffs, )
)
VS. ) No. 04-1144-'1`/An
)
MICHELIN NORTH AMERICA, INC., )
and MICHELIN AMERICAN )
RESEARCH & DEVELOPMENT )
CORPORATION, )
)
Defendants. )

 

ORDER DENYING REQUEST FOR HEARlNG ON MOTIONS

 

On June 21, 2005, the Court Clerl<’s office received a letter from T. Michael Lee,
counsel for the plaintiffs The letter notes that plaintiffs have motions pending in this case
and requests that a hearing be set at the Court’s earliest convenience

Local Rule 7.2(0) provides that if a hearing is desired on a motion:

counsel shall request the hearing in the motion or response If the court

determines that a hearing Would be helpful or necessary, the court Will set the

date and time of the hearing and the clerk Will notify all counsel.

Thus, the Clerk may set a hearing only at the direction of the Court,l not merely upon the

 

l Regardless of the type of action desired from the Court, whether a hearing or something more, it should
be requested in an actual court document, not merely a letter.

This document entered on the docket sheet In co plianca
with laura se ancs,'or_rs {a) FncP on §Q 159 \_~_l l 0 § 6 q

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request of counsel.

In any event, plaintiffs’ pending motions in this case are a motion to compel
discovery and a motion to continue which includes a request to extend the various pretrial
deadlines2 These are motions that will be decided by the Magistrate Judge; therefore, it is
within his discretion whether to set a hearing on those motions.

The plaintiffs’ informal request for a hearing is DENIED. Any further request for
hearing on these particular motions should be made to the Magistrate Judge.

IT lS SO ORDERED.

fhwa/sw

JAM D. TODD
UNI ED STATES DISTRICT JUDGE

;W ?¢w¢ Wf/

DATE

 

2 A supplemental motion to continue was also recently filed.

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s DISTRI T COURT - WESTERN D"ISRICTOF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in

case l:04-CV-01144 was distributed by faX, mail, or direct printing on

June 24, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

